Case No. 1:22-cv-01866-GPG-SKC Document 74-14 filed 09/11/23 USDC Colorado pg 1
                                    of 6




                 Exhibit 36 to
  The Governor’s Motion for Summary Judgment


        Benjamin Gates Interrogatory Responses




            Gates et al. v. Polis, No. 1:22-cv-1866-GPG-SKC (D. Colo.)
                               September 11, 2023
Case No. 1:22-cv-01866-GPG-SKC Document 74-14 filed 09/11/23 USDC Colorado pg 2
                                    of 6




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-1866-NYW-SKC

  BENJAMIN GATES,
  TRAVIS SWARTZ
  KARL HONEGGER, and
  NATIONAL FOUNDATION FOR GUN RIGHTS, INC.

         Plaintiffs,

  v.

  JARED S. POLIS, in his official capacity as Governor of the State of Colorado

         Defendant.

  ____________________________________________________________________________

                       BENJAMIN GATES’ RESPONSES TO
                DEFENDANT’S FIRST SET OF INTERROGATORIES
  ____________________________________________________________________________

          Benjamin Gates submits the following responses to Defendants’ first set of
  interrogatories:


          1. List the make and manufacturer of each Firearm that you currently possess, and for
  each, indicate the manner in which the firearm accepts ammunition, for example, through a
  detachable magazine, a fixed magazine, or a tubular magazine.

  OBJECTION: The evidence sought is not relevant to any party’s claims or defenses nor
  proportional to the needs of the case. The issue in this case is whether the State’s ban on
  commonly held magazines violates the Second Amendment. Under New York State Rifle &
  Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), that issue is resolved by determining
  whether the plain text of the Second Amendment covers Plaintiffs’ conduct and, if so, whether
  Defendant can demonstrate that the ban is consistent with the Nation’s history and tradition of
  firearm regulation. Information about the types of firearms Plaintiffs possess is not even
  tangentially relevant to that question.


         2. List the make and manufacturer of each detachable magazine you own, and for each
  detachable magazine, indicate the maximum number of bullets or other projectiles the magazine
  can accept without being extended or otherwise modified.
Case No. 1:22-cv-01866-GPG-SKC Document 74-14 filed 09/11/23 USDC Colorado pg 3
                                    of 6




  OBJECTION: The evidence sought is not relevant to any party’s claims or defenses nor
  proportional to the needs of the case. The issue in this case is whether the State’s ban on
  commonly held magazines violates the Second Amendment. Under New York State Rifle &
  Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), that issue is resolved by determining
  whether the plain text of the Second Amendment covers Plaintiffs’ conduct and, if so, whether
  Defendant can demonstrate that the ban is consistent with the Nation’s history and tradition of
  firearm regulation. Information about the magazines I currently possess is not relevant to that
  question.

  Moreover, in D.C. v. Heller, 554 U.S. 570, 629 (2008), the Court specifically held that the type
  of information sought by Defendant is not relevant. The stated: “It is no answer to say, as
  petitioners do, that it is permissible to ban the possession of handguns so long as the possession
  of other firearms (i.e., long guns) is allowed.” As application to this case, it is no answer to say,
  as Defendant does, that it is permissible to ban the possession of certain commonly held
  magazines so long as possession of other magazines is allowed.

  RESPONSE: Without waiving this objection, I state that I own several pre-ban magazines.


          3. List and describe each incident in which you have discharged a Firearm in self-
  defense, including: the circumstances surrounding the incident; the number of shots you fired in
  self-defense; the Firearm you used; the weapon, if any, carried by your assailant; the City and
  State in which the incident occurred; and whether any police report documenting the incident
  exists.

  OBJECTION: The evidence sought is not relevant to any party’s claims or defenses nor
  proportional to the needs of the case. The issue in this case is whether the State’s ban on
  commonly held magazines violates the Second Amendment. Under New York State Rifle &
  Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), that issue is resolved by determining
  whether the plain text of the Second Amendment covers Plaintiffs’ conduct and, if so, whether
  Defendant can demonstrate that the ban is consistent with the Nation’s history and tradition of
  firearm regulation. Information about the Plaintiffs’ self-defense encounters, if any, is not
  relevant to that question.


          4. For each Firearm listed in response to Interrogatory Number 1, describe the last time
  you discharged that Firearm, including the approximate date and the circumstances surrounding
  the discharge. For example, whether it was while hunting, sport shooting, or in self- defense.

  OBJECTION: The evidence sought is not relevant to any party’s claims or defenses nor
  proportional to the needs of the case. The issue in this case is whether the State’s ban on
  commonly held magazines violates the Second Amendment. Under New York State Rifle &
  Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), that issue is resolved by determining
  whether the plain text of the Second Amendment covers Plaintiffs’ conduct and, if so, whether
  Defendant can demonstrate that the ban is consistent with the Nation’s history and tradition of
Case No. 1:22-cv-01866-GPG-SKC Document 74-14 filed 09/11/23 USDC Colorado pg 4
                                    of 6




  firearm regulation. Information about the Plaintiffs’ self-defense encounters, if any, is not
  relevant to that question.


         5. Are any of the Firearms you listed in response to Interrogatory Number 1 incapable
  of operating without utilizing a Large Capacity Magazine?

  OBJECTION: The evidence sought is not relevant to any party’s claims or defenses nor
  proportional to the needs of the case. The issue in this case is whether the State’s ban on
  commonly held magazines violates the Second Amendment. Under New York State Rifle &
  Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), that issue is resolved by determining
  whether the plain text of the Second Amendment covers Plaintiffs’ conduct and, if so, whether
  Defendant can demonstrate that the ban is consistent with the Nation’s history and tradition of
  firearm regulation. Information about the Plaintiffs’ firearms is not relevant to that question.

  RESPONSE: Without waiving this objection, I state that any firearm that utilizes a detachable
  magazine can operate even if the State were to limit magazine capacity to one round, thus
  requiring the magazine to be replaced after each shot is fired.


         6. For each Large Capacity Magazine that you own, describe the state of the magazine,
  including whether the magazine is still operable and how many times you have discharged a
  Firearm using that magazine.

  OBJECTION: The evidence sought is not relevant to any party’s claims or defenses nor
  proportional to the needs of the case. The issue in this case is whether the State’s ban on
  commonly held magazines violates the Second Amendment. Under New York State Rifle &
  Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), that issue is resolved by determining
  whether the plain text of the Second Amendment covers Plaintiffs’ conduct and, if so, whether
  Defendant can demonstrate that the ban is consistent with the Nation’s history and tradition of
  firearm regulation. Information about the condition of magazines Plaintiffs acquired before July
  1, 2013 is not relevant to that question. Information about how many times I have discharged a
  firearm using each of my magazines is also not relevant to that question.

  RESPONSE: Without waiving this objection, I state that my magazines are in various states of
  repair.


         7. For any of the Firearms you listed in response to Interrogatory Number 1 that use
  detachable magazines, describe your successful efforts to acquire detachable magazines of 15
  rounds or fewer for use with the aforementioned Firearms, including the date of the purchase(s)
  and from what source the detachable magazine(s) of 15 rounds or fewer was purchased.

  OBJECTION: The evidence sought is not relevant to any party’s claims or defenses nor
  proportional to the needs of the case. The issue in this case is whether the State’s ban on
  commonly held magazines violates the Second Amendment. Under New York State Rifle &
Case No. 1:22-cv-01866-GPG-SKC Document 74-14 filed 09/11/23 USDC Colorado pg 5
                                    of 6




  Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), that issue is resolved by determining
  whether the plain text of the Second Amendment covers Plaintiffs’ conduct and, if so, whether
  Defendant can demonstrate that the ban is consistent with the Nation’s history and tradition of
  firearm regulation. Information about Plaintiffs’ efforts to acquire non-banned magazines is not
  relevant to that question.

  RESPONSE: Without waiving this objection, I state that I have not kept records of the dates
  and sources of the non-banned magazines I have acquired in the last 10 years.


         8. For any of the Firearms you listed in response to Interrogatory Number 1 that use
  detachable magazines, if you have attempted to, but been unable to, acquire a detachable
  magazine of 15 rounds or fewer for use with the aforementioned Firearms, describe the efforts
  you took to acquire such a magazine, including, but not limited to, the date of the attempted
  purchase(s) and the retailers or distributors you visited in person or online.

  OBJECTION: The evidence sought is not relevant to any party’s claims or defenses nor
  proportional to the needs of the case. The issue in this case is whether the State’s ban on
  commonly held magazines violates the Second Amendment. Under New York State Rifle &
  Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), that issue is resolved by determining
  whether the plain text of the Second Amendment covers Plaintiffs’ conduct and, if so, whether
  Defendant can demonstrate that the ban is consistent with the Nation’s history and tradition of
  firearm regulation. Information about Plaintiffs’ efforts to acquire non-banned magazines is not
  relevant to that question.

  RESPONSE: Without waiving this objection, I state that I have not been unable to acquire
  magazines that have not been banned by the State of Colorado.


          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that I have reviewed
  the foregoing, that I am competent to testify in this matter, and that the facts contained therein
  are true and correct.

  _________________________________
  Benjamin Gates
  May 4, 2023


  As to form and objections:

  /s/ Barry K. Arrington
  _______________________
  Barry K. Arrington
  Arrington Law Firm
  4195 Wadsworth Boulevard
  Wheat Ridge Colorado 80033
Case No. 1:22-cv-01866-GPG-SKC Document 74-14 filed 09/11/23 USDC Colorado pg 6
                                    of 6




  (303) 205-7870
  Email: barry@arringtonpc.com
  Attorney for Plaintiffs


                                CERTIFICATE OF SERVICE

        I hereby certify that on May 4, 2023, I emailed the foregoing to:

  leann.morrill@coag.gov
  emily.buckley@coag.gov
  daniel.magalotti@coag.gov
  peter.baumann@coag.gov

  /s/ Barry K. Arrington
  _______________________
  Barry K. Arrington
